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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

DANNY SCHOONOVER,

                Plaintiff,

       v.                                          CASE NO.: 8:11-cv-00147-JDW-TBM

COMMONWEALTH FINANCIAL
SYSTEMS, INC.,

            Defendant.
____________________________________/

                                   NOTICE OF SETTLEMENT

       NOW COMES Plaintiff, DANNY SCHOONOVER (“Plaintiff”), by and through the

undersigned counsel, and hereby informs the Court that a settlement of the present matter has

been reached and all parties to the present matter are currently in the process of executing the

aforementioned settlement agreement, which Plaintiff anticipates will be completed within the

next 30 days.

       Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

calendar for the present matter.




                                    NOTICE OF SETTLEMENT                                      1
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DATED: December 30, 2011          RESPECTFULLY SUBMITTED,

                                  KROHN & MOSS, LTD.


                             By: /s/ Shireen Hormodzi

                                  Shireen Hormodzi, Esq.
                                  Attorney for Plaintiff
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                           NOTICE OF SETTLEMENT                            2
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 30, 2011, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to all parties by the Court’s CM/ECF system.



                                           By:      /s/ Shireen Hormodzi

                                                    Shireen Hormodzi, Esq.
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                                  NOTICE OF SETTLEMENT                                              3
